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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS

                               :
 JANEDA ROSSI,                 :
                               :    No. 1:21-cv- 11389
              Plaintiff,       :
                               : Leave to File Granted on November 12, 2021
   vs.                         :
                               :
 VERIZON COMMUNICATIONS, INC., :
                               :
              Defendant.       :
                               :
                               :

                                REPLY MEMORANDUM OF LAW IN
                               FURTHER SUPPORT OF DEFENDANT’S
                            MOTION TO DISMISS PLAINTIFF’S COMPLAINT

          Defendant Verizon Communications, Inc. (“Verizon”) submits this brief in Reply to the

Opposition brief of Plaintiff Janeda Rossi (Doc. No. 16) to Verizon’s Motion to Dismiss (Doc.

Nos. 7 and 8). As Verizon demonstrates below, Ms. Rossi’s Opposition confirms that her

Complaint fails to state a claim and should be dismissed for several reasons.

I.        Argument

          A.     Plaintiff Concedes That She Ratified the Verizon Pension Plan Agreement

          Ms. Rossi did not address Verizon’s motion argument that she ratified her Pension Plan

Agreement by keeping its substantial payout (over $329,000), and by not seeking to revoke it for

over four years. (See Def. Br., Doc. No. 8, Point Four). As a matter of law, her silence amounts to

concession of that argument. See Leader v. Harvard Univ. Bd. of Overseers, 2017 WL 1064160 at

* 6 (D. Mass. March 17, 2017); Perkins v. City of Attleboro, 969 F. Supp. 2d 158, 177 (D. Mass.

2013). For this reason alone, therefore, her Complaint should be dismissed.



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          B.     Plaintiff’s Own Description of Her Claims Makes Plain They Relate to the
                 Verizon Pension Plan and Therefore, Her Lawsuit Is Pre-Empted by ERISA

          Ms. Rossi’s argument that her claims do not relate to the Verizon Pension Plan and are,

therefore, not preempted by ERISA is irreconcilable with her own description of her lawsuit. As

she describes it, Verizon engaged in “bad faith” by overnighting her the Pension Plan Agreement

while she was hospitalized. As remedies she is “seeking to set aside [her Pension Plan Agreement]

and be reinstated to her job with health insurance benefits [and] monetary damages for the

additional tax liabilities due to [her Pension Plan Agreement].” (Pl. Opp., Doc. No. 16, pp. 2, 4).

Given that, on their face, the Pension Plan Agreement is the sine qua non of her claims and

demanded remedies, they are plainly pre-empted. See Shaw v. Delta Air Lines, Inc., 463 U.S. 85,

96-97 (1983) (ERISA pre-empts every state law claim that “has a connection with or reference to

such a plan.”); Otero Carrasquillo v. Pharmacia Corp., 466 F.3d 13, 20 (1st Cir. 2006); see also

Newman v. Metropolitan Life Ins. Co., 2013 WL 951779, * 8 (D. Mass. March 8, 2013) (ERISA

pre-empts lawsuit alleging bad faith denial of benefits).

          Otero Carrasquillo is on point. As here, the plaintiff complained about the manner in which

his employer advised him about applying for plan benefits. There, the plaintiff alleged that his

employer fraudulently induced him into delaying his application for severance plan benefits and

then changed the application deadline without informing him. In holding that the plaintiff’s

fraudulent inducement claim was pre-empted by ERISA, the First Circuit explained that the

plaintiff’s claim was “related to” the plan because it would require a court to review the terms of

the plan’s process for informing employees of the application process and its deadlines. Otero

Carrasquillo, supra, 466 F.3d at 20.

          Here, just as in Otero Carrasquillo, the Plaintiff’s allegations complain about the manner

in which her employer advised her of her right to apply for plan benefits. To determine the merits
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of Ms. Rossi’s claims, this Court would need to review the terms of the Pension Plan pertaining to

sending the Pension Plan Agreement to employees, and its process for retracting acceptance of the

Agreement. Accordingly, ERISA pre-empts her claims and her Complaint should be dismissed for

this second, wholly dispositive reason.

          C.     Plaintiff Does Not Dispute That the Damages She Seeks are Precluded by
                 ERISA’s Exclusive Remedies Scheme

          Having placed all her arguments in the “ERISA does not pre-empt my claims” basket,

Plaintiff ignored Verizon’s argument that ERISA’s exclusive remedy scheme precludes the

damages she seeks – the economic damages for the extra tax liabilities she incurred by taking her

$329,000+ pension distribution in a lump sum, and the reinstatement of her employment and its

accompanying health insurance benefits.1 (See Def. Br., Doc. No. 8, Point One(B)). Because

Plaintiff’s silence concedes Verizon’s argument, her Complaint must be dismissed for this third,

independent reason.

          D.     Plaintiff’s Argument That Her Claims Are Subject to Massachusetts’
                 Statute of Limitations Is Specious Given that ERISA Pre-Empts Them

          Plaintiff’s conclusory argument that her claims are subject to Massachusetts’ six-year

limitations period for contract actions, and not to ERISA’s three-year limitations period for

fiduciary duty claims, is simply an extension of her argument that ERISA does not apply to her

claims. As Verizon demonstrates above, and in Points Two and Three of its initial moving brief,

Plaintiff’s claims are governed by ERISA because they unquestionably relate to the Verizon

Pension Plan. Thus, for this fourth reason, Plaintiff’s Complaint should be dismissed.




1
 Any claim concerning health insurance benefits is also governed by ERISA, and consequently,
ERISA preemption also precludes any cause of action or claim that relates to health insurance
benefits maintained by Verizon for the benefit of its employees.
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          E.     The Statement Plaintiff Submitted by Her Doctor
                 Refutes Her Excuse for Failing to Timely File Her Lawsuit

          The very materials Plaintiff (improperly2) submitted with her Opposition Brief dooms her

argument that her lawsuit is not barred by ERISA’s three-year limitations period for breach of

fiduciary duty claims, 29 U.S.C. § 1113. Her doctor’s statement that since July 7, 2017, Ms. Rossi

has been fine and emotionally stable, and that she is aware that her Verizon employment had ended,

precludes her excuse for waiting over four years before filing suit:

                 Her hospital stay was from 6/23/17 till 7/17/17. . . . It was during
                 this time she reportedly quit her job at Verizon.

                                   *      *       *

                 Since being released from the hospital, she has been doing well, and
                 back to her baseline functioning. She has expressed an interest in
                 returning to work at Verizon. Currently, her mood is stable and is
                 physically much improved.

(Pl. Opp., Doc. No. 16, Exh. C, p. 1).

          Morevoer, Plaintiff’s argument that she did not become “fully aware of the consequences

of [Verizon’s] breach of the implied covenant of good faith until September 17th, 2018,” when she

received from the IRS, a tax assessment of $14,620, misstates the law. No authority is cited nor

does it exist to support her position that the applicability of ERISA’s statute of limitations is

dependent upon when a plaintiff becomes “fully aware” of every possible consequence of a

fiduciary’s alleged breach as opposed to knowledge of the alleged breach. As the First Circuit has

made clear, “knowledge of every fact necessary to prevail on a claim is not required. . . .” Epstein


2
 Plaintiff’s submissions with her Opposition --- her Affidavit, her doctor’s statements, and an IRS
notice --- are improper because the court has not converted Verizon’s motion to dismiss into a
motion for summary judgment, and because none of the documents falls within the narrow
exceptions for documents to be considered outside of the complaint. Watterson v. Paige, 987 F.3d
1, 3 (1st Cir. 1993) (exception exists for documents whose authenticity is not disputed, for public
records, and for documents sufficiently referred to in the complaint).
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v. C.R. Baird, 460 F.3d 183, 188 (1st Cir. Aug. 25, 2006). Rather, the limitations period commences

when a plaintiff should have reasonably discovered that she has been, or may have been, harmed

by the defendant’s conduct. Id. at 187; see also 29 U.S.C. § 1113(2) (limitations period commences

“three years after the earliest date on which the plaintiff had actual knowledge of the breach or

violation”).

          As Ms. Rossi’s own doctor confirms, Plaintiff has, by virtue of being mentally stable,

known since July 7, 2017 that: (i) Verizon sent her the Pension Plan Agreement while she was

hospitalized; and (ii) her execution of the Pension Plan Agreement ended her Verizon employment

and its accompanying health benefits. Accordingly, her lawsuit based on these allegations, filed

on July 28, 2021, is time-barred.

II.       Conclusion

          For the above reasons and for the reasons set forth in its initial moving brief (Doc No. 8),

Defendant Verizon Communications, Inc. respectfully requests that this Court grant its motion in

its entirety and dismiss Plaintiff’s Complaint with prejudice.



Dated: November 12, 2021                        McELROY, DEUTSCH,
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                                                Verizon Communications Inc.

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                               CERTIFICATE OF SERVICE

I, David P. Russman, hereby certify that on this 12th day of November, 2021, I served a true and
accurate copy of the foregoing through the Court’s Electronic Filing System and by emailing to:

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                                            /s/ David P. Russman
                                            _________________________
                                            David P. Russman




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